Case 6:16-cv-06643-I\/|WP Document 46 Filed 10/12/18 Page 1 of 2

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October 12, 2018
VIA FAX ((585) 613-4085) and EMAIL (kimberly_hardies@nywd.uscourts.gov)

Hon. Marian W. Payson
U.S. District Court §
Westers District of New York
100 State Street

Rochester, NY 14614

Subj: ESI Agreement Guidance Request
Zhao v. Keuka College, et al.
Civil Action No. 16-CV-6643

   

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Dear Judge Payson:

At the Rule 16 conference in the above matter, the parties were directed to attempt to

negotiate a mutually acceptable ESI agreement, or submit separate proposals for the Court to
consider if agreement could not be reached. The parties have had several exchanges of proposals

and conversation, but an agreement has not yet been reached.

ln fact, from my perspective we have reached impasse, as the parties remain far apart and
set in their respective positions

l thus respectfully ask that the Court provide the parties With guidance as to the form of
the proposals that it would like to receive, that the Court set a deadline for it to receive them, and
provide such other and further advice as it might find helpful for the parties to solve this

disagreement

lt may be helpful for the Court to know that defendants’ have served discovery demands
on October 10, 2018, while plaintiff has held off doing so in anticipation of resolution of this
issue since such resolution will shape discovery moving forward.

l appreciate the Court’s guidance in advance and look forward to receiving it. Thank you.

Respectfully yours, "'{;'M PW_§{U maj
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Case 6:16-cv-06643-I\/|WP Document 46 Filed 10/12/18 Page 2 of 2

ESI Agreement Guidance Request
October 12, 2018

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